Case 2:20-cv-08226-PA-AS Document 11 Filed 09/29/20 Page 1 of 1 Page ID #:48


 1                                                                                               JS-6
 2
 3
 4
 5
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
10
11   SANTOS SAUL ALVAREZ                             CV 20-8226 PA (ASx)
     BARRAGAN; SA HOLIDAY, INC.,
12                                                   JUDGMENT
                      Plaintiffs,
13
            v.
14
     DAZN NORTH AMERICA INC.; DAZN
15   MEDIA INC.; DAZN US LLC;
     PERFORM INVESTMENT LIMITED;
16   GOLDEN BOY PROMOTIONS, LLC;
     GOLDEN BOY PROMOTIONS, INC.;
17   OSCAR DE LA HOYA; and DOES 1-25,
18                    Defendants.
19
20          Pursuant to the Court’s September 29, 2020 Minute Order dismissing this action for
21   lack of subject matter jurisdiction, failure to prosecute, and failure to comply with the
22   Court’s order,
23          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
24   dismissed without prejudice.
25
26   DATED: September 29, 2020                          _________________________________
                                                                   Percy Anderson
27                                                        UNITED STATES DISTRICT JUDGE
28
